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                              UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


  IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
  LIABILITY LITIGATION
                                                   Case No. 16-md-02741-VC


  This document relates to:                        ORDER GRANTING MOTION TO
                                                   DISMISS FOR INSUFFICIENT
  Dennis Adrion v. Monsanto Co.,                   SERVICE OF PROCESS
  Case No. 3:24-cv-01124-VC
                                                   Re: Dkt. No. 19688


       Monsanto filed a motion to dismiss for insufficient service of process in the above-

captioned case. The plaintiff has not filed an opposition. Accordingly, the motion is granted.

       IT IS SO ORDERED.

Dated: December 16, 2024
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
